Case 5:07-cr-00022-TBR Document 293 Filed 08/07/12 Page 1 of 4 PageID #: 837




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                PADUCAH DIVISION
                                 CASE NO. 5:07-CR-22

UNITED STATES OF AMERICA                                                              PLAINTIFF

V.

RUSSELL LEE HUNT                                                                     DEFENDANT

                           MEMORANDUM OPINION & ORDER

       This matter is before the Court upon Defendant Russell Lee Hunt’s motion to alter,

amend, or vacate the Memorandum Opinion & Order issued by this Court on May 1, 2012. The

United States has responded. For the following reasons, Defendant’s motion (DN 284) is

DENIED.

                                            BACKGROUND

       Pursuant to a plea agreement, Hunt pled guilty to conspiracy to possess with intent to

distribute methamphetamine on February 15, 2008. The plea agreement stated, in relevant part:

       Defendant is aware of his right to appeal his conviction and that 18 U.S.C. § 3742
       affords a defendant the right to appeal the sentence imposed. The Defendant
       knowingly and voluntarily waives the right (a) to directly appeal his conviction
       and the resulting sentence pursuant to Fed. R. App. P. 4(b) and 18 U.S.C. § 3742,
       and (b) the contest or collaterally attack his conviction and the resulting sentence
       pursuant to 28 U.S.C. § 2255 for ineffective counsel or otherwise.

Plea Agreement, DN 144 at ¶ 12.

       Three years after Hunt was sentenced to 188 months imprisonment, he filed a motion to

vacate his sentence pursuant to 28 U.S.C. § 2255 (DN 273). In his motion to vacate, Hunt

argued that his counsel was ineffective for failing to object to four points assessed towards his

criminal history category which resulted in an increase in the guidelines range from 168 to 210

months to 188 to 235 months.



                                                 1
Case 5:07-cr-00022-TBR Document 293 Filed 08/07/12 Page 2 of 4 PageID #: 838




         The government then moved this Court to dismiss Hunt’s § 2255 motion on the grounds

that he knowingly and voluntarily waived his right to collaterally attack his conviction and

sentence. This Court agreed, stating that Hunt’s claims of ineffective assistance of counsel at the

sentencing phase did not retroactively affect the validity of the guilty plea entered into five

months prior to sentencing. The Court thus found that Hunt knowingly and voluntarily waived

his right to attack his conviction or sentence under 28 U.S.C. § 2255 and was precluded from

bringing a claim of ineffective assistance of counsel based on 28 U.S.C. § 2255. According, the

Court granted the government’s motion to dismiss. Hunt now moves this Court to vacate its

judgment pursuant to Federal Rules of Civil Procedure 59(e).

                                               STANDARD

         A court may grant a motion to alter or amend pursuant to Federal Rule of Civil Procedure

59(e) “if there is a clear error of law, newly discovered evidence, an intervening change in

controlling law or to prevent manifest injustice.” GenCorp v. Am. Int’l, 178 F.3d 804, 834 (6th

Cir. 1999) (internal citations omitted). “[C]ourts typically will consider additional evidence

accompanying a Rule 59(e) motion only when it has been newly discovered, and that to

[c]onstitute ‘newly discovered evidence,’ the evidence must have been previously unavailable.”

Id. A Rule 59(e) motion does not provide plaintiffs another opportunity to argue the merits of

their case. Sault Ste. Marie Tribe of Chippewa Indians v. Engler, 146 F.3d 367, 374 (6th Cir.

1998).

                                                ANALYSIS

         Hunt states that alteration or amendment of this Court’s order dismissing his 28 U.S.C. §

2255 motion is necessary to correct a clear error of law or to prevent manifest injustice. In

support of this position, Hunt contends that this Court failed to consider the recognized exception



                                                  2
Case 5:07-cr-00022-TBR Document 293 Filed 08/07/12 Page 3 of 4 PageID #: 839




to enforcement of a waiver of a right to appeal – when counsel’s ineffectiveness renders a guilty

plea involuntary or unintelligent. Hunt argues that this exception applies here, maintaining that

this “Court must consider counsel’s ineffectiveness in counseling Defendant into accepting the

plea of guilty, which had counsel been effective, produces a Guideline range of 168 to 210

months, prior to holding Defendant to the waiver provision of the plea agreement.” DN 284 at p.

5. Hunt contends that this “Court must find that Defendant’s plea of guilty was not knowing and

intelligent due to the very fact that more competent counsel would have made the United States

aware of the [uncounseled misdemeanor convictions], and began bargaining from that point.

Intelligence, would, in Defendant’s world consist of his receiving a term of imprisonment

substantially lower than the term of imprisonment he entered into [thinking that he could receive

no less, as he was advised by his ineffec[tive] counsel.” Id.

       Despite Hunt’s assertions to the contrary, this Court did recognize such an exception in

its Memorandum Opinion, noting that “a § 2255 waiver does not bar challenges which go to the

validity of the guilty plea itself, such as claims that a guilty plea or waiver was not knowing or

voluntary, or was the product of ineffective assistance of counsel.” Memorandum Opinion, DN

282 at p. 3. However, this Court found that Hunt’s counsel’s alleged ineffectiveness at the

sentencing phase did not retroactively affect the voluntary or knowing nature of his guilty plea.

Hunt appears to now argue that his counsel’s alleged ineffectiveness affected the knowing and

voluntary nature of the guilty plea because his counsel “was ineffective in allowing [him] to

enter the plea agreement in this case, prior to considering the [enhancements] applied to

Defendant’s sentence by way of the § 4A1.1(c) criminal history points.” DN 284 at p. 6.

       As previously explained by this Court, Hunt’s claims of ineffective assistance of counsel

relate to his counsel’s performance at sentencing. The plea agreement entered into by Hunt and



                                                 3
Case 5:07-cr-00022-TBR Document 293 Filed 08/07/12 Page 4 of 4 PageID #: 840




the government did not contemplate a specific guidelines range, but expressly stated that Hunt’s

criminal history level would be determined upon the completion of the pre-sentence

investigation. Plea Agreement, DN 144 at ¶ 11(B). Thus, the “applicable guidelines range” had

not yet been determined. Hunt’s argument, therefore, that his guilty plea was somehow the result

of a guidelines range that was higher than it ought to have been, is meritless. The entry of

Hunt’s guilty plea could not have been the result of his counsel’s alleged ineffectiveness,

because the acts constituting Hunt’s claims of ineffective assistance of counsel did not occur

until several months afterwards when the applicable guidelines range was calculated and

determined by this Court at sentencing. There is nothing in the record to indicate that Hunt did

not understand the scope of his waiver of right to collaterally attack his conviction and guilty

plea. Accordingly, there is no basis for this Court to amend or modify its Order dismissing

Hunt’s § 2255 motion.

                                             CONCLUSION

       For the foregoing reasons, IT IS HEREBY ORDERED that Hunt’s motion to alter,

amend, or vacate the Memorandum Opinion & Order issued by this Court on May 1, 2012 (DN

284) is DENIED.




                                                               August 7, 2012




                                                 4
